Case 2:02-cV-02455-.]DB-STA DocumentSl Filed 05/03/05 Pagelon Page|

F11 .eo 111 __ D-C-
IN THE UNITED sTATEs DlsTRlCT CoURT
FoR THE WESTERN DISTRICT oF TENNESSEE 11511;11'-31’112=27
WESTERN DIVISIoN

110111:1~1'1 151 511|11T01(.:?
511 '{. l 3 §`1 3
SMITH & NEPHEW, INC., ®15~ l..;._: W! iu»,E,\, -1115
Plaintiff,
v. No. 02-2455~B

FEDERAL INSURANCE COMPANY,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is Defendant’s Motion to Compel filed on May 2, 2005. This motion is
referred to the United States Magistrate Judge for determination Any objections to the magistrate
judge’s order shall be made within ten (10) days after service of the order, setting forth particularly
those portions of the order objected to and the reasons for the objections Failure to timely assign as
error a defect in the magistrate judge’s order Will constitute a waiver of that objection w Rule 72(a),
Federal Rules of Civil Procedure.

IT IS SO ORDERED this day of May, 2005.

 

. DANIEL BREEN\
U srArEs DISTRICT JUDGE

This document entered 011 the docket sheet in compliance
wah nuts ss and/or 79131 FRGP on F~

 

 

F TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 81 in
case 2:02-CV-02455 Was distributed by faX, mail, or direct printing on
May 3, 2005 to the parties listed.

 

Mark Vorder-Bruegge

WYATT TARRANT & COl\/[BS
P.O. Box 775000

1\/lemphis7 TN 38177--500

William B. lakes
HOWELL & FISHER

300 J ames Robertson Pkwy
Nashville, TN 37201--1 10

Martin C. Pentz

FOLEY HOAG LLP

Seaport World Trade Center West
15 5 Seaport Blvd.

Boston7 MA 02210--260

Honorable J. Breen
US DISTRICT COURT

